    Case 5:23-cv-00488-MTT-CHW            Document 2       Filed 01/12/24     Page 1 of 6




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF GEORGIA
                               MACON DIVISION

MALACHI Z YORK,                  :
                                 :
                 Plaintiff,      :
                                 :
           VS.                   :                 NO. 5:23-CV-00488-MTT-CHW
                                 :
MACON COUNTY POLICE              :
DEPARTMENT,                      :
                                 :
                 Defendant.      :
________________________________ :

                                           ORDER

       Plaintiff Malachi Z. York, also known as Dwight D. York, a federal inmate presently

housed in the Florence ADMAX USP in Florence, Colorado, has filed a pro se pleading

that has been docketed as a Complaint seeking relief pursuant to 42 U.S.C. § 1983 (ECF

No. 1). 1 Plaintiff York did not, however, pay the filing fee or file a proper motion to

proceed without the prepayment of the filing fee.          A prisoner proceeding in forma

pauperis must submit (1) an affidavit in support of his claim of indigence and (2) “a

certified copy of [his] trust fund account statement (or institutional equivalent) . . . for the

6-month    period    immediately      preceding    the   filing   of   the   complaint.”     28



1
  Plaintiff York appears to go by several different names, including but not limited
to Malachi K. York, Issa Al Haadi Al Mahdi, and Dwight York. See, e.g., York v.
Federal Bureau of Prisons, Order of Dismissal 1, ECF No. 19 in Case No. 1:09-cv-
02331-ZLW (D. Co. Jan. 19, 2010). The Federal Bureau of Prisons inmate locator
shows Dwight York is currently incarcerated at the Florence ADMAX USP and lists
his Register Number as 17911-054. https://www.bop.gov/inmateloc/ (searched
“Dwight York”) (last accessed Jan. 5, 2024).
    Case 5:23-cv-00488-MTT-CHW             Document 2     Filed 01/12/24    Page 2 of 6




U.S.C. § 1915(a)(1)-(2). Without a motion and this account statement (or similar certified

documentation from the prison), the Court does not have sufficient information to

determine whether Plaintiff York is entitled to proceed in forma pauperis or to calculate

the average monthly deposits or the average monthly balance in Plaintiff York’s prison

trust account as required by 28 U.S.C. § 1915. See id. (requiring the district court to assess

an initial partial filing fee when funds are available). Accordingly, Plaintiff York is

DIRECTED to either pay the Court’s $405.00 filing fee in full or submit a proper motion

to proceed without the prepayment of the filing fee, which should include a certified copy

of his trust fund account statement. The Clerk is DIRECTED to provide Plaintiff York

with the appropriate forms for this purpose, marked with the case number of the above-

captioned action.

       Plaintiff York is also ORDERED to recast his Complaint on the Court’s standard

form. The recast complaint must contain a caption that clearly identifies, by name, each

individual that Plaintiff York has a claim against and wishes to include as a Defendant in

the present lawsuit. Plaintiff York is to name only the individuals associated with the

claim or related claims that he is pursuing in this action. Plaintiff York must provide

enough facts to plausibly demonstrate that each defendant’s actions or omissions resulted

in the violation of his constitutional rights.

       To that end, it is recommended that, when drafting his statement of claims on the

Court’s form, Plaintiff York list numbered responses to the following questions (to the

extent possible) along with the name of each defendant:

                                                 2
    Case 5:23-cv-00488-MTT-CHW           Document 2      Filed 01/12/24    Page 3 of 6




       (1)    What did this defendant do (or not do) to violate your rights? In other words:
              What was the extent of this defendant’s role in the unconstitutional conduct
              other than being in a supervisory role? Was the defendant personally
              involved in the constitutional violation? If not, did his actions otherwise
              cause the unconstitutional action? How do you know?

       (2)    When and where did each action occur (to the extent memory allows)?

       (3)    How were you injured as a result of this defendant’s actions or decisions? If
              you have been physically injured, explain the extent of your injuries and any
              medical care requested or provided.

       (4)    How and when did this defendant learn of your injuries or otherwise become
              aware of a substantial risk that you could suffer a serious injury?

       (5)   What did this defendant do (or not do) in response to this knowledge?

       (6)   What relief do you seek from this defendant?

Plaintiff York should state his claims as simply as possible referring only to the relevant

allegations against the named defendants in this case; he should not attach supporting

documents to his recast complaint, use legal terminology, or cite any specific statute or

case law to state a claim, although the Court will presume that Plaintiff York’s claims are

brought under 42 U.S.C. § 1983 unless otherwise specified. See Fed. R. Civ. P. 8. If, in

his recast complaint, Plaintiff York fails to link a named defendant to a claim, the claim

will be dismissed. Likewise, if Plaintiff York makes no allegations in the body of his

recast complaint against a named defendant, that defendant will be dismissed.

       Plaintiff York is cautioned that the opportunity to file a recast complaint is not an

invitation for him to include every imaginable claim that he may have against any state or

federal official. Plaintiff York will not be permitted to join claims against multiple


                                             3
    Case 5:23-cv-00488-MTT-CHW          Document 2      Filed 01/12/24    Page 4 of 6




defendants in one action unless he can establish a logical relationship between the claims

in accordance with the Federal Rules of Civil Procedure. Plaintiff York is also cautioned

to fully and truthfully respond to each question presented on the standard form including

but not limited to those questions regarding previous federal lawsuits and whether he has

pursued grievances and exhausted his administrative remedies, or he risks dismissal of this

case.

        The recast complaint will supersede (take the place of) the original Complaint

(ECF No. 1). Plaintiff York may include additional pages with the Court’s standard

form, but the recast complaint must be no longer than ten (10) pages in its entirety.

This ten-page limitation includes the pre-printed pages of the Court’s standard form. The

Court will not consider any allegations in any other document, or any allegations not

contained within those ten pages, to determine whether Plaintiff York has stated an

actionable claim. Accordingly, any fact Plaintiff York deems necessary to his lawsuit

should be clearly stated in his recast complaint, even if he has previously alleged it in

another filing. The Clerk is DIRECTED to forward a copy of the § 1983 form marked

with the case number of the above-captioned action to Plaintiff York.

        The Court notes that the Complaint in this case appears to have been mailed by Mr.

Ishmael Bey. See Attach. 5 to Compl. 1, ECF No. 1-5. Mr. Bey has also provided the

Court with a document entitled “Assignment of Rights and Delegation of Performance.”

Attach. 2 to Compl. 3, ECF No. 1-2. To the extent Mr. Bey intends for this document to

permit him to prosecute this lawsuit on Plaintiff York’s behalf, it does not do so. Even

                                            4
    Case 5:23-cv-00488-MTT-CHW             Document 2      Filed 01/12/24     Page 5 of 6




assuming without deciding that Plaintiff York has claims that can legally be assigned to a

third-party and that the document submitted by Mr. Bey is an effective means of doing so,

the document only purports to assign Plaintiff York’s “one hundred percent (100%)

Membership Interest in the U.S. Court of Appeals 11th Circuit Court Case Number 5:18-

CV-460 (MTT).” Id. The above-captioned action is a different action that is entirely

separate from Case Number 5:18-cv-560 (and its appeal), and neither Plaintiff York nor

Mr. Bey has provided the Court with any legal basis for allowing Mr. Bey to prosecute this

case on Plaintiff’s behalf. As such, if Plaintiff York wishes to proceed with this case on

his own, it is his responsibility to comply with the instructions set forth in this Order. 2

       Plaintiff York shall have FOURTEEN (14) DAYS from the date shown on this

Order to (1) either pay the required filing fee or submit a proper and complete motion for



2
  To have standing to sue a defendant, an individual must generally “show that he
personally has suffered some actual or threatened injury as a result of the putatively illegal
conduct of the defendant” and must “assert his own legal interests rather than those of third
parties.” Gladstone Realtors v. Village of Bellwood, 441 U.S. 91, 99 (1979) (internal
quotation marks omitted). An exception to this general principle is that “an incompetent
person who does not have a duly appointed representative may sue by a ‘next friend.’”
Harris v. Buckhorn, 545 F. App’x 862, 863 (11th Cir. 2013) (per curiam) (citing Fed. R.
Civ. P. 17(c)(2)). But “[n]ext friend standing is not granted automatically to whoever
seeks to pursue an action on behalf of another.” Id. Instead, the “next friend” must first
explain why the real party in interest cannot appear on his own behalf and must also
demonstrate that the “next friend” is “truly dedicated to the best interest of the person on
whose behalf he seeks to litigate.” Id. Furthermore, “in certain types of litigation,” the
Eleventh Circuit has “held that a next friend cannot represent the plaintiff i[n] a pro se
capacity.” Wint by and through Wint v. Fla. Palm Beach Sheriff, 842 F. App’x 468, 470-
71 (11th Cir. 2021) (per curiam). Mr. Bey has not established that he has the authority to
sue on Plaintiff York’s behalf as his “next friend” or that he has some other basis for raising
Plaintiff York’s claims in this case in this Court.

                                               5
    Case 5:23-cv-00488-MTT-CHW            Document 2      Filed 01/12/24    Page 6 of 6




leave to proceed in forma pauperis in this action and (2) file his recast complaint with the

Clerk of Court as described above. If Plaintiff York does not timely and fully comply

with this Order, this action may be dismissed. Plaintiff York is further DIRECTED to

notify the Court immediately in writing of any change in his mailing address. The Clerk is

DIRECTED to mail a copy of this Order to Mr. Bey at his address of record in addition to

mailing Plaintiff York a copy of this Order to his address at the Florence USP. There shall

be no service of process in this case until further order of the Court.

       SO ORDERED, this 12th day of January, 2024.


                                           s/ Charles H. Weigle
                                           Charles H. Weigle
                                           United States Magistrate Judge




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